           Case 2:10-cr-00092-EFS             ECF No. 152         filed 10/05/20       PageID.976 Page 1 of 4
                                                                                                          FILED IN THE
AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)            U.S. DISTRICT COURT
                                                                                                EASTERN DISTRICT OF WASHINGTON



                                       UNITED STATES DISTRICT COURT                              Oct 05, 2020
                                   FOR THE__________
                                           EASTERN DISTRICT OF __________
                                                               WASH.                                 SEAN F. MCAVOY, CLERK




          UNITED STATES OF AMERICA
                                                                          Case No. ____________________
                                                                                   4:10-CR-0092-EFS

                                                                          ORDER ON MOTION FOR
          v.                                                              SENTENCE REDUCTION UNDER
                                                                          18 U.S.C. § 3582(c)(1)(A)
         RYAN M. HOFFMAN
                                                                          (COMPASSIONATE RELEASE)


                 Upon motion of ☐ the defendant ☐ the Director of the Bureau of Prisons for a reduction

         in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors

         provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing

         Commission,

         IT IS ORDERED that the motion is:

         ☐ GRANTED

                 ☐ The defendant’s previously imposed sentence of imprisonment of ________________

         is reduced to ____________________________. If this sentence is less than the amount of time

         the defendant already served, the sentence is reduced to a time served; or

                 ☐ Time served.

                 If the defendant’s sentence is reduced to time served:

                          ☐        This order is stayed for up to fourteen days, for the verification of the

                                   defendant’s residence and/or establishment of a release plan, to make

                                   appropriate travel arrangements, and to ensure the defendant’s safe

                                   release. The defendant shall be released as soon as a residence is verified,

                                   a release plan is established, appropriate travel arrangements are made,
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                   and it is safe for the defendant to travel. There shall be no delay in

                   ensuring travel arrangements are made. If more than fourteen days are

                   needed to make appropriate travel arrangements and ensure the

                   defendant’s safe release, the parties shall immediately notify the court and

                   show cause why the stay should be extended; or

           ☐       There being a verified residence and an appropriate release plan in place,

                   this order is stayed for up to fourteen days to make appropriate travel

                   arrangements and to ensure the defendant’s safe release. The defendant

                   shall be released as soon as appropriate travel arrangements are made and

                   it is safe for the defendant to travel. There shall be no delay in ensuring

                   travel arrangements are made. If more than fourteen days are needed to

                   make appropriate travel arrangements and ensure the defendant’s safe

                   release, then the parties shall immediately notify the court and show cause

                   why the stay should be extended.

    ☐ The defendant must provide the complete address where the defendant will reside

    upon release to the probation office in the district where they will be released because it

    was not included in the motion for sentence reduction.

    ☐ Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term” of

    ☐ probation or ☐ supervised release of ___ months (not to exceed the unserved portion

    of the original term of imprisonment).

           ☐ The defendant’s previously imposed conditions of supervised release apply to

           the “special term” of supervision; or




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                ☐ The conditions of the “special term” of supervision are as follows:




        ☐ The defendant’s previously imposed conditions of supervised release are unchanged.

        ☐ The defendant’s previously imposed conditions of supervised release are modified as

        follows:




 ☐ DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the United

 States Attorney to file a response on or before _________________, along with all Bureau of

 Prisons records (medical, institutional, administrative) relevant to this motion.

 ☐ DENIED after complete review of the motion on the merits.

        ☐ FACTORS CONSIDERED (Optional)

Defendant's underlying health conditions and conduct, the condition of the facility where
Defendant resides, safety of others, and 3553(a) factors.




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☐ DENIED WITHOUT PREJUDICE because the defendant has not exhausted all administrative

remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since receipt of the

defendant’s request by the warden of the defendant’s facility.

IT IS SO ORDERED.

Dated: October 5, 2020


                                                     UNITED STATES DISTRICT JUDGE




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